                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

IN RE:                                              )
                                                    )
Sarai Services Group, Inc.,1                        )    CASE NO. 18-82948-CRJ11
Center, LLC,                                        )
EIN: xx-xxx2969                                     )
                                                    )
         Debtor(s).                                 )    CHAPTER 11


    BANKRUPTCY ADMINISTRATOR'S STATEMENT OF REVIEW OF THE FOURTH
 INTERIM APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
     OF SPARKMAN, SHEPARD & MORRIS, P.C. , ATTORNEY FOR THE DEBTOR

         COMES NOW J. Thomas Corbett, the United States Bankruptcy Administrator (the "BA"), by
and through the undersigned counsel of record, and hereby files this Statement of Review regarding the
Application of SPARKMAN, SHEPARD & MORRIS, P.C. ("Applicant") in the above-styled case and
states as follows:

1. The BA's Office has reviewed the application (Doc. #328).

2. An analysis of the request for compensation discloses that the schedules have the required specificity
and reflect reasonable compensation for actual, necessary services, as required under 11 U.S.C. Section
330(a)(1)(A). The hourly rate of the Applicant is reasonable in light of Johnson v. Georgia Highway
Express, Inc., 488 F.2d 714 (5th Cir. 1974), and the number of hours spent by the Applicant is
reasonable.

3. An analysis of the request for reimbursement of expenses discloses the expenses have the required
specificity and are actual and necessary expenses under 11 U.S.C. Section 330(a)(1)(B).

4. Based on the review of the application and schedules, such substantially complies with the
requirements of 11 U.S.C. Section 330, Federal Rule of Bankruptcy Procedure 2016 and Local Rule
2016-1.
        WHEREFORE, the BA recommends approval of interim compensation and reimbursement of
expenses as requested in the application.

Respectfully submitted 19 July 2018.

                                                 J. THOMAS CORBETT
                                                 United States Bankruptcy Administrator for the
                                                 Northern District of Alabama

                                                 BY:     /s/ Richard M. Blythe
                                                         Richard M. Blythe


         1
       In addition to Sarai Services Group, Inc., the Debtors include the following: SSWWJV
LLC, Case No. 18-82949-CRJ11; Sarai Investment Corporation, Case No. 18-82950-CRJ11; and
CM Holding, Inc., Case No. 18-82951-CRJ-11.

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                                                         Assistant U.S. Bankruptcy Administrator
                                                         Alabama. Bar ID: ASB-3199-B52R

OF COUNSEL:
United States Bankruptcy Administrator
Northern District of Alabama
Seybourn H. Lynne Federal Building
Post Office Box 3045
400 Well Street NE, Room 236
Decatur, Alabama 35602
(256) 340-2740

                                      CERTIFICATE OF SERVICE
I hereby certify that on 1 August 2019, I have served a copy of the foregoing on the parties listed below
by depositing the same in the United States Mail, postage prepaid and properly addressed, or if the party
being served is a registered participant in the CM/ECF System for the United States Bankruptcy Court
for the Northern District of Alabama, service has been made by a "Notice of Electronic Filing" pursuant
to FRBP 9036 in accordance with subparagraph II.B.4. of the Court's Administrative Procedures.

Tazewell Shepard, Esq., Attorney for Debtor, via CM/ECF electronic notice taze@ssmattorneys.com



                                                 /s/ Richard M. Blythe
                                                 Richard M. Blythe
                                                 Assistant U.S. Bankruptcy Administrator




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